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				IN RE RETIREMENT OF THE HONORABLE ARLENE JOHNSON2017 OK CR 21Case Number: CCAD-2017-6Decided: 08/01/2017IN RE: RETIREMENT OF THE HONORABLE ARLENE JOHNSON
Cite as: 2017 OK CR 21, __  __

				

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ORDER COMMEMORATING SERVICE


¶1 NOW, on this 1st day of August, 2017, the Oklahoma Court of Criminal Appeals, sitting en banc to honor the stewardship of Judge Arlene Johnson for her many years of service to the citizens of the State of Oklahoma, directs the following comments of her colleagues and citation of appreciation to be spread of record to commemorate her steadfast devotion to the Oklahoma Judicial System.

COMMENTS OF THE COURT

¶2 Presiding Judge Gary L. Lumpkin: Arlene, it has been such a fast twelve years since you joined us on the Court. Because of your extensive legal background and day-to-day experience, the Court was blessed immediately as you shared your insights into the law and its application to each case. While fully grounded in the federal system, you recognized from the beginning the unique function of the Court of Criminal Appeals as a court of last resort with exclusive jurisdiction over the appeal of criminal convictions in the State of Oklahoma. This was a matter of great pride for you to have the opportunity to serve the citizens of Oklahoma in this vital position in our judicial system. We will miss your contributions to the development of criminal law in Oklahoma, but wish you many years of blessings as you enter the retirement phase of your life. Best wishes and may God bless.

¶3 Vice-Presiding Judge David B. Lewis: Arlene, congratulations on your retirement. Time certainly flies by. Twelve years ago you joined the court and six months later I came on board. Your Honor, thank you for your service to our great State. You have truly been a dedicated servant to the rule of law. May God continue to bless you in your retirement years.

¶4 Judge Clancy Smith (Retired): Judge, since my first day on the Oklahoma Court of Criminal Appeals, you have been my hero. You are the trifecta in appellate judges, broad and thorough knowledge of the law, superior writing skills, and determination to follow the spirit and letter of the law, but with tender mercies. You and your intellect will be sorely missed.

¶5 Judge Robert L. Hudson: Judge Johnson, while I have only served with you on the Court for a little more than two years, you have nevertheless made an indelible impression upon me. Your willingness to listen and consider the thoughts, concerns, and opinions of the other judges is a positive attribute, which I will try to emulate and carry forward as I serve as a Judge on the Court. Of course, prior to coming on the Court, I was aware of your reputation as a legal scholar, and over the past two years you have only enhanced my appreciation for that reputation.

¶6 We will miss the intelligence, experience, and demeanor that you brought to every case and conference. Your legal career is a tribute to you and your service to the citizens of this Great State and, indeed, to the citizens of the United States of America. You can retire with pride in the body of work encompassed in your career as a public servant.

¶7 I wish you the best in your retirement, and may God bless you.

CITATION OF APPRECIATION

¶8 WHEREAS, you attended the University of Oklahoma, receiving a Bachelor of Arts in 1964; and

¶9 WHEREAS, you taught high school English in Moore, Oklahoma; and

¶10 WHEREAS, you received your Juris Doctorate from the University of Oklahoma College of Law in 1971; and

¶11 WHEREAS, after graduating from law school, you worked in the private practice of law with the firm of Bulla and Horning from 1971 to 1973; and

¶12 WHEREAS, you served as a Judicial Law Clerk to Judge Tom Brett of the Oklahoma Court of Criminal Appeals from 1973 to 1976; and

¶13 WHEREAS, you served as Assistant District Attorney for Oklahoma County from 1977 to 1980; and

¶14 WHEREAS, you served as an Adjunct Professor at the University of Oklahoma College of Law from 1977 to 1982; and

¶15 WHEREAS, you served as Chief Counsel to the Senate from 1981 to 1983; and

¶16 WHEREAS, you served as Oklahoma Supreme Court Appointee to the Court of Appeals, Temporary Division 106 in 1982; and

¶17 WHEREAS, you served as Assistant Attorney General in 1983; and

¶18 WHEREAS, you served as Assistant United States Attorney in the Office of the United States Attorney for the Western District of Oklahoma from 1983 to 2005, serving as Chief of the Criminal Division from 1995 to 2004; and

¶19 WHEREAS, in 1998 you received the United States Attorney General's John Marshall Award for Outstanding Legal Achievement in connection with the 1995 Oklahoma City Bombing case; and

¶20 WHEREAS, in 1998 you received the FBI Commendation for Exceptional Service in the Public Interest; and

¶21 WHEREAS, you served as President of the William J. Holloway, Jr. Chapter of the American Inns of Court in 2003 to 2004; and

¶22 WHEREAS, you were appointed to the Oklahoma Court of Criminal Appeals on February 18, 2005; and

¶23 WHEREAS, you were named Presiding Judge on January 1, 2011; and

¶24 WHEREAS, you are a member of the Oklahoma Bar Association and the American Bar Association; and

¶25 WHEREAS, the Court of Criminal Appeals is the court of last resort and possesses exclusive jurisdiction in the appeal of criminal cases in the State of Oklahoma;

¶26 NOW, THEREFORE, the Judges of the Oklahoma Court of Criminal Appeals, sitting en banc, do hereby extend our appreciation for your many years of devotion, service, and contribution to this Court and the citizens of the State of Oklahoma, and commend your tireless efforts on behalf of the Court, which has contributed to its efficiency, stature, and prestige.

¶27 IT IS SO ORDERED.

¶28 WITNESS OUR HANDS AND THE SEAL OF THIS COURT this 1st day of August, 2017.


/S/GARY L. LUMPKIN, Presiding Judge

/S/DAVID B. LEWIS, Vice-Presiding Judge

/S/ROBERT HUDSON, Judge


ATTEST:

/s/John D. Hadden
Clerk






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